      Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 1 of 36




   Entered on Docket
    January 06, 2017
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Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 2 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 3 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 4 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 5 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 6 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 7 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 8 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 9 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 10 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 11 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 12 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 13 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 14 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 15 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 16 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 17 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 18 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 19 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 20 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 21 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 22 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 23 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 24 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 25 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 26 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 27 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 28 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 29 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 30 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 31 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 32 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 33 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 34 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 35 of 36
Case 16-51282-gwz   Doc 256   Entered 01/06/17 13:59:12   Page 36 of 36
